                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

PAUL SCHNEIDER,                                    §
                                                   §
       Plaintiff,                                  §
                                                   §          Cause No. 4:17cv3165
VS.                                                §
                                                   §          Jury Trial Demanded
AT&T MOBILITY SERVICES, LLC,                       §
                                                   §
       Defendant.                                  §
                                                   §

                         MOTION TO DISMISS WITH PREJUDICE

       Plaintiff moves to dismiss this case with prejudice, with the parties to bear their own costs

and attorneys’ fees.

                                               Respectfully submitted,

                                               /s/ David C. Holmes
                                               David C. Holmes, Attorney in Charge
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                                               ATTORNEY FOR PLAINTIFF

                                 CERTIFICATE OF SERVICE

        I certify that a true and correct copy of this pleading was sent electronically to all counsel
of record on September 16, 2019.


                                               /s/ David C. Holmes
                                                       David C. Holmes
